                           UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )        NO. 2:08-CR-102(18)
                                                     )
CARLOS HERNANDEZ                                     )

                                           ORDER

               This criminal matter is before the Court to consider the Report and Recommendation

of the United States Magistrate Judge dated November 10, 2009. [Doc. 676]. The Magistrate Judge

recommends that the defendant’s motion to suppress all evidence seized during the execution of a

search warrant at his residence on July 3, 2008, be denied. The defendant has filed an objection to

this report. [Doc. 688].

               After careful and de novo consideration of the Report and Recommendation of the

United States Magistrate Judge, the defendant’s objection to that Report and Recommendation, the

defendant’s motion to suppress, the response of the government, the transcript of the hearing held

on November 9, 2009, and for the reasons set out in that Report and Recommendation which are

incorporated by reference herein, it is hereby ORDERED that this Report and Recommendation

is ADOPTED and APPROVED, and that the defendant's Motion to Suppress Evidence is

DENIED. [Doc. 406].




               ENTER:

                                                              s/J. RONNIE GREER
                                                         UNITED STATES DISTRICT JUDGE




     Case 2:08-cr-00102-JRG-MCLC          Document 783         Filed 12/15/09     Page 1 of 1
                                        PageID #: 3327
